Case 1:16-cv-00347-JMS-RLP Document 139 Filed 09/18/17 Page 1 of 4   PageID #: 905




  KOSHIBA PRICE & GRUEBNER
  Attorneys at Law, A Law Corporation

  CHARLES A. PRICE          5098-0
  707 Richards Street, Suite 610
  Honolulu, Hawaii 96813
  Telephone No.: (808) 523-3900
  Facsimile No.: (808) 526-9829
  cprice@koshibalaw.com

  WILLIAM J. PLUM        4839-0
  The Plum Law Office, A Law Corporation
  P.O. Box 3503
  Honolulu, Hawaii 96811
  Telephone: (808) 528-0050

  Attorneys for Defendant
  APT-320, LLC

                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

  ATOOI ALOHA, LLC, an Nevada           )   CIVIL NO. 16-00347 JMS RLP
  Limited Liability Company; CRAIG B.   )
  STANLEY, as Trustee for THE           )
  EDMON KELLER AND                      )   CERTIFICATE OF SERVICE
  CLEAVETTE MAE STANLEY                 )
  FAMILY TRUST; CRAIG B.                )   [re: DEFENDANT APT-320, LLC’S
  STANLEY, individually; MILLICENT      )   JOINDER IN DEFENDANTS
  ANDRADE, individually,                )   FIDELITY NATIONAL TITLE &
                                        )   ESCROW OF HAWAII, INC.’S
                    Plaintiffs,         )   FIRST REQUESTS FOR
                                        )   PRODUCTION OF DOCUMENTS
        vs.                             )   TO PLAINTIFFS ATOOI ALOHA,
                                        )   LLC, MILLICENT ANDRADE,
  ABNER GAURINO; AURORA                 )   AND CRAIG B. STANLEY,
  GAURINO; ABIGAIL GAURINO;             )   INDIVIDUALLY AND AS
  INVESTORS FUNDING                     )   TRUSTEE FOR THE EDMOND
  CORPORATION, as Trustee for an        )   KELLER AND CLEAVETTE MAE
Case 1:16-cv-00347-JMS-RLP Document 139 Filed 09/18/17 Page 2 of 4   PageID #: 906




  unrecorded Loan Participation           )     STANLEY FAMLY TRUST,
  Agreement dated June 30, 2014; APT-     )     DATED SEPTEMBER 9, 2017]
  320, LLC, a Hawaii Limited Liability    )
  Company; CRISTETA C. OWAN, an           )
  individual; ROMMEL GUZMAN;              )
  FIDELITY NATIONAL TITLE &               )
  ESCROW OF HAWAII and DOES 1-            )
  100 Inclusive,                          )
                                          )
                     Defendants.          )
                                          )

                           CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on the date indicated below, a copy of

 DEFENDANT APT-320, LLC’S JOINDER IN DEFENDANTS FIDELITY

 NATIONAL TITLE & ESCROW OF HAWAII, INC.’S FIRST REQUESTS FOR

 PRODUCTION OF DOCUMENTS TO PLAINTIFFS ATOOI ALOHA, LLC,

 MILLICENT ANDRADE, AND CRAIG B. STANLEY, INDIVIDUALLY AND AS

 TRUSTEE FOR THE EDMOND KELLER AND CLEAVETTE MAE STANLEY

 FAMLY TRUST, DATED SEPTEMBER 9, 2017, will be served upon the following

 parties by U.S. Mail, postage prepaid, addressed as follows:

              DENNIS W. CHONG KEE, Esq.
              W. KEONI SHULTZ, Esq.
              CHRISTOPHER T. GOODIN, Esq.
              Cades Schutte LLP
              1000 Bishop Street, Fl. 10
              Honolulu, Hawaii 96813




                                           2
Case 1:16-cv-00347-JMS-RLP Document 139 Filed 09/18/17 Page 3 of 4   PageID #: 907




             LAWRENCE C. ECOFF, Esq.
             ALBERTO J. CAMPAIN, Esq.
             GINNI G. KIM, Esq.
             Ecoff Campain & Tilles, LLP
             280 S. Beverly Hill, Suite 504
             Beverly Hills, California 90212

                   Attorneys for Plaintiffs
                   ATOOI ALOHA, LLC; CRAIG STANLEY,
                   as Trustee for The Edmon Keller and
                   Cleavette Mae Stanley Family Trust;
                   CRAIG B. STANLEY, Individually; and
                   MILLICENT ANDRADE, Individually

             JOHN R. REMIS, JR., Esq.
             P.O. Box 38112
             Honolulu, Hawaii 96837

             ROBERT D. EHELER, JR., Esq.
             1003 Bishop Street, Suite 2700
             Honolulu, Hawaii 96813

                   Attorneys for Defendants
                   ABNER GAURINO, AURORA GAURINO,
                   and ABIGAIL GAURINO

             WAYNE P. NASSER, Esq.
             999 Bishop Street, Suite 1400
             Honolulu, Hawaii 96813

                   Attorney for Defendants
                   ROMMEL GUZMAN and
                   FIDELITY NATIONAL TITLE &
                   ESCROW OF HAWAII




                                         3
Case 1:16-cv-00347-JMS-RLP Document 139 Filed 09/18/17 Page 4 of 4   PageID #: 908




             THOMAS D. YANO, Esq.
             4374 Kukui Grove Street, Suite 204
             Lihue, Hawaii 96766

             Attorney for Defendant
             CRISTETA C. OWAN

             DATED: Honolulu, Hawaii; September 18, 2017.


                                      /s/ Charles A. Price
                                      CHARLES A. PRICE
                                      Attorney for Defendant
                                      APT-320




                                        4
